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                       EXHIBIT 25
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                   Procedures for Filing and Briefing of Appeals

1.   The Claims Administrator shall designate an appeals coordinator (“Appeals
Coordinator”) to coordinate the appeals process set forth in Section 6 of the
Agreement.

2.     Appeals shall be commenced by the appellant filing with the Appeals
Coordinator within the applicable time frames set forth in Section 6 of the
Agreement a Notice of Appeal stating the appellant’s election to appeal, the issues
being appealed and the relief requested. The Appeals Coordinator shall provide a
copy of the Notice of Appeal to the appellee. Such copy shall be provided by
electronic mail if the appellee has provided the Claims Administrator with an
electronic mail address or otherwise by U.S. Mail.

3.     Upon receiving a Notice of Appeal, the Appeals Coordinator shall issue a
schedule to the appellant and the appellee, and shall provide the address and email
address at which to serve the parties to the appeal and Lead Class Counsel. The
schedule shall set forth specific due dates (month, day, and year) so that there is a
clear understanding of the following applicable deadlines:

       A.      For appeals to which the “baseball” process applies pursuant to
Section 6 of the Agreement, the appellant and appellee shall file their Initial
Proposal with the Appeals Coordinator, and serve the other party by electronic
mail and overnight delivery within 15 days of the date that the Appeals
Coordinator transmits the Notice of Appeal to the appellee via email and overnight
delivery. Any party may file a memorandum in support of its Initial Proposal
together with its Initial Proposal. By no later than 25 days of the date that the
Appeals Coordinator transmits the Notice of Appeal to the appellee, if the appeal
has not been settled by the appellant and appellee, the appellant and appellee shall
each file its Final Proposal and shall serve the other party by electronic mail,
overnight delivery, or U.S. Mail.

       B.    For appeals to which “baseball” does not apply pursuant to the
Agreement, the appellant shall file with the Appeals Coordinator, and serve the
appellee, an opening memorandum in support of its appeal explaining the basis for
its appeal within 10 days of the date that the Appeals Coordinator transmits the
Notice of Appeal to the appellee. The appellee may file an opposition
memorandum by no later than 25 days of the date that the Appeals Coordinator
transmits the Notice of Appeal to the appellee. The appellee shall file the
opposition memorandum on the appellant by electronic mail, overnight delivery, or


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U.S. Mail. The appellant may file a reply brief by no later than 35 days after the
date that the Appeals Coordinator transmits the Notice of Appeal to the appellee.
The appellant shall file the reply memorandum on the appellee by electronic mail,
overnight delivery, or U.S. Mail.

4.    The Appeals Coordinator may grant extensions to the above-mentioned
deadlines in the Appeals Coordinator’s discretion.

5.   The Appeals Coordinator, upon concurrence of the Claims Administrator,
may amend and/or adopt procedures as necessary to implement Section 6 of the
Agreement after providing notice and a right to comment by the BP Parties and
Lead Class Counsel.

6.    The Appeals Coordinator shall post on the Court Approved Settlement
Program web site and make available in hard copy a protocol summarizing these
procedures and mechanism for filing appeals and documents in connection
therewith (i.e., address for filing appeals and documents in connection therewith).

7.    All decisions of Appeal Panelists shall be emailed to attorneys for the parties
and Lead Class Counsel. In addition, public versions shall be created with
personally identifying information redacted.

8.     Pursuant to Section 6.6 of the Settlement Agreement, the Court maintains
the discretionary right to review any Appeal determination and upon reviewing
such determination, the Court shall treat the Appeal determination as if it were a
recommendation by a Magistrate Judge.




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